         CASE 0:23-cr-00310-DWF-DJF        Doc. 89    Filed 05/02/24    Page 1 of 8




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


    United States of America,                        Criminal No. 23-310(1) (DWF/DJF)

                       Plaintiff,

    v.                                                 ORDER ADOPTING REPORT
                                                        AND RECOMMENDATION
    Mario Lazaro Santos-Hunter,

                       Defendant.


                                    INTRODUCTION

         Defendant Mario Lazaro Santos-Hunter moves to suppress evidence (Doc. No. 20)

and statements (Doc. No. 21). In a Report and Recommendation (“R&R”), Magistrate

Judge Dulce J. Foster recommended denying both motions.1 (Doc. No. 68.) Santos-

Hunter filed an objection to the R&R. (Doc. No. 71.) After an independent review of the

record and objection, the Court adopts the Magistrate Judge’s R&R.

                                      DISCUSSION

         The Court has conducted a de novo review of the record, including a review of the

arguments and submissions of counsel, pursuant to 28 U.S.C. § 636(b)(1) and Local

Rule 72.2(b). The relevant factual and procedural background for the above-entitled

matter is clearly and precisely set forth in the Magistrate Judge’s R&R and is

incorporated by reference.


1
        The Magistrate Judge further ordered a Franks hearing regarding Santos-Hunter’s
supplemental motion to suppress evidence (Doc. No. 33). That motion is not the subject
of this order.
       CASE 0:23-cr-00310-DWF-DJF           Doc. 89    Filed 05/02/24     Page 2 of 8




       In the R&R, the Magistrate Judge concluded that the April 12 Affidavit

established probable cause that Santos-Hunter was involved in criminal activity because

of the following: (1) Facebook messages linked Santos-Hunter to Mr. Bankhead, a

known drug trafficker; (2) the messages referenced a “trade” and included “an instruction

not to discuss that ‘trade’ on Facebook”; (3) Santos-Hunters showed his agreement to the

instruction by stating that he “ain’t say to[o] much”; (4) a confidential informant

identified Santos-Hunter as being involved in drug trafficking; and (5) the informant

“directed law enforcement officers to [Santos-Hunter’s] Facebook page, where they

observed photographs of Mr. Santos-Hunter posing with large amounts of U.S.

currency.” (Doc. No. 68 at 18.)

       The Magistrate Judge further concluded that the Affidavit established a nexus

between the criminal activity and the phone number because Investigator Amberg stated

in the Affidavit that, in his training and experience, drug dealers “use cellular phones to

facilitate the possession and sale of controlled substances” and tracking the phone

number would help law enforcement with “identifying other co-conspirators, unidentified

narcotic stash houses, and narcotic transactions with other customers around the Twin

Cities metro and beyond.” (Id. at 19.) Even if the Affidavit was insufficient, the

Magistrate Judge concluded that the good faith exception applied, as the officers acted in

good faith and the Affidavit “established a substantial basis for a finding of probable

cause.” (Id. at 21.)

       The Magistrate Judge also concluded that Santos-Hunter was not entitled to a

Franks hearing because “[e]ven if the Court were to supplement the April Affidavit with


                                              2
       CASE 0:23-cr-00310-DWF-DJF          Doc. 89    Filed 05/02/24    Page 3 of 8




the fact that Mr. Bankhead’s phone did not contain text messages or calls to the target

phone number, the April Affidavit would establish probable cause.” (Id. at 22.) Thus,

the Magistrate Judge recommended denying Santos-Hunter’s motion to suppress

evidence.

       In addition, the Magistrate Judge determined that Santos-Hunter’s Miranda rights

were not violated. Investigator Amberg’s questions prior to the Miranda warning were

merely biographical and none of the questions were likely to illicit an incriminating

response regarding the alleged offenses (possession of firearms, including machineguns,

and possession of fentanyl with intent to distribute). Moreover, the Magistrate Judge

reasoned that the Investigator’s questions after Santos-Hunter requested an attorney did

not violate Santos-Hunter’s Miranda rights because the questions were made in response

to Santos-Hunter’s spontaneous statements.

       Santos-Hunter objects to each of the Magistrate Judge’s above conclusions. First,

Santos-Hunter argues that the Affidavit did not establish probable cause that he was

engaged in criminal activity because the Facebook messages merely established his

association with a known criminal, which is not enough to establish probable cause. The

Eighth Circuit has held that “mere association with a known or suspected criminal,” such

as a person’s mere presence in the suspect’s car or the presence of a person in a high-

crime area, does not create probable cause to arrest. United States v. Everroad, 704 F.2d

403, 406 (8th Cir. 1983). The Affidavit here establishes more than mere association.

Santos-Hunter referenced making a “trade” with a known drug trafficker, who then told

him to not discuss the “trade” on Facebook. While Santos-Hunter argues that the “trade”


                                             3
       CASE 0:23-cr-00310-DWF-DJF          Doc. 89     Filed 05/02/24    Page 4 of 8




they were referring to could have been about “exchanging something that Bankhead was

embarrassed about or wanted to keep private” (Doc. No. 71 at 8), “[p]robable cause does

not require absolute certainty.” United States v. Muhammad, 604 F.3d 1022, 1028 (8th

Cir. 2010). The Court agrees with the Magistrate Judge that the Facebook messages and

the confidential informant’s tip were sufficient to establish probable cause that Santos-

Hunter was engaged in criminal activity.

       Santos-Hunter next challenges the Magistrate Judge’s conclusion that the

Affidavit established a nexus between the criminal activity and the phone number.

Santos-Hunter argues that the “simple assertion that ‘drug dealers will use cellular

phones’ is not enough to establish a fair probability that contraband or evidence of a

crime would be found in the information sought from T-Mobile for the phone number at

issue here.” (Doc. No. 71 at 11.) Here, the search warrant requested authorization for the

installation and use of an electronic tracking device on a phone number known to be used

by Santos-Hunter, as well as a pen register and trap and trace device. Officers had

probable cause to believe that Santos-Hunter was involved in drug trafficking and Santos-

Hunter’s probation officer advised the officers that Santo-Hunter was using the target

phone number. This information gives rise to the inference that Santos-Hunter may carry

his phone with him while he engaged in the suspected criminal activity. See United

States v. Brackett, 846 F.3d 987, 992 (8th Cir. 2017) (“[A]n issuing judge may draw

reasonable inferences from the totality of the circumstances in determining whether

probable cause exists to issue a warrant.”) (internal quotation and citation omitted).




                                             4
       CASE 0:23-cr-00310-DWF-DJF          Doc. 89     Filed 05/02/24    Page 5 of 8




       Moreover, the Affidavit provided that in Investigator Amberg’s training and

experience, drug dealers often use cell phones “to facilitate the possession and sale of

controlled substances” and tracking the phone number would help the officers with

“identifying other co-conspirators, unidentified narcotic stash houses, and narcotic

transactions with other customers around the Twin Cities metro and beyond.” (Doc.

No. 68 at 19.)

       The Court concludes that the Affidavit established a nexus between the phone and

the criminal activity. But even if the Affidavit failed to do so, the Leon good faith

exception would apply as the search warrant was not “so facially deficient that no police

officer would reasonably presume the warrant to be valid.” United States v. Thompson,

976 F.3d 815, 822 (8th Cir. 2020) (citing United States v. Leon, 468 U.S. 897, 923

(1984)).

       Santos-Hunter further argues that law enforcement deliberately or recklessly

omitted from the Affidavit that Investigator Amberg “was not aware of any evidence on

Bankhead’s phone—either text messages or phone calls—suggesting the target phone

number was being used to communicate about drug transactions.” (Doc. No. 71 at 12.)

Santos-Hunter’s argument is the same argument he presented to the Magistrate Judge.

The Magistrate Judge thoroughly considered this argument in the R&R and rejected it.

The Court agrees with the Magistrate Judge that even if this information was included in

the Affidavit, the Affidavit would still establish probable cause. The Court therefore

denies Santos-Hunter’s motion to suppress evidence.




                                             5
       CASE 0:23-cr-00310-DWF-DJF           Doc. 89     Filed 05/02/24    Page 6 of 8




       Next, Santos-Hunter argues that statements he made prior to being given his

Miranda rights should be suppressed. Prior to providing Santos-Hunter with his Miranda

rights, Investigator Amberg asked Santos-Hunter his name, age, the address he was

staying at, his marital status, whether he was employed and his employer’s address, his

phone number, and the last grade he completed. “[A] request for routine information

necessary for basic identification purposes is not interrogation under Miranda, even if the

information turns out to be incriminating.” United States v. McLaughlin, 777 F.2d 388,

391 (8th Cir. 1985). Such questioning is only impermissible “if the government agent

should reasonably be aware that the information sought, while merely for basic

identification purposes in the usual case, is directly relevant to the substantive offense

charged.” Id. at 391-92.

       Here, Santos-Hunter has not demonstrated how the information was directly

relevant to the substantive charges, and these routine background questions were not

reasonably likely to elicit an incriminating response. See United States v. Armstrong,

No. 19-cr-31, 2020 WL 1853601, at *2 (D.N.D. Apr. 13, 2020) (“[A] request by law

enforcement for a suspect’s address, telephone number, marital status, place of

employment, and home address are basic identification information and Miranda

warnings are not required.”). And while Santos-Hunter argues that these questions were

not necessary for booking purposes because Santos-Hunter had already been booked,

courts in this circuit have held that the routine-information exception still applies. United

States v. Bear, No. 21-cr-30074, 2022 WL 7956487, at *2 (S.D. Aug. 18, 2022)

(concluding that the “exception applies even though [the defendant] had been arrested


                                              6
       CASE 0:23-cr-00310-DWF-DJF          Doc. 89     Filed 05/02/24    Page 7 of 8




and was in custody”); United States v. Temple, 15-cr-230, 2017 WL 7798109, at *23

(E.D. Mo. Oct. 6, 2017) (“Although these questions occurred after formal booking, [the

officer] testified that such questions were part of his normal procedure to get basic

pedigree and similar information from persons he questions.”).

       Lastly, Santos-Hunter argues that statements he made after he invoked his right to

counsel should be suppressed. Investigator Amberg asked Santos-Hunter if he had ever

done a DNA sample before. The Court agrees with the Magistrate Judge that this

question was “incident to collecting the sample” and not “designed to obtain

incriminating information.” (Doc. No. 68 at 32.) Additionally, Santos-Hunter

spontaneously asked Investigator Amberg what was happening with “Shaunice’s” phone

“and explained that the owner of the phone wanted it back.” (Id. at 32.) Investigator

Amberg asked a clarifying question (“Whose phone is it?”). (Id.). Santos-Hunter said it

was Ms. Dodd’s phone. Investigator Amberg then asked if he had “chatted with her.”

(Id.) Santos-Hunter said that someone else had told him Dodd was asking about her keys

and phone. (Id. at 10.) “An officer’s request for clarification of a spontaneous statement

generally does not constitute interrogation.” United States v. Chipps, 410 F.3d 438, 445

(8th Cir. 2005). But “[a] question would constitute interrogation if it attempted to

enhance [the defendant’s] guilt.” Id. (internal quotations and citation omitted). The

Court cannot conclude that either of Investigator Amberg’s questions were meant to

enhance Santos-Hunter’s guilt. Rather, the Court agrees with the Magistrate Judge that

the questions were in direct response to Santos-Hunter’s concern that the phone be




                                             7
      CASE 0:23-cr-00310-DWF-DJF         Doc. 89    Filed 05/02/24      Page 8 of 8




returned to its owner. The Court therefore denies Santos-Hunter’s motion to suppress

statements.

                                        ORDER

      Based upon the foregoing, and the files, records, and proceedings herein, IT IS

HEREBY ORDERED that:

      1.      Santos-Hunter’s objection (Doc. No. [71]) to Magistrate Judge Dulce J.

Foster’s March 6, 2024 Report and Recommendation is OVERRULED.

      2.      Magistrate Judge Dulce J. Foster’s March 6, 2024 Report and

Recommendation (Doc. No. [68]) is ADOPTED.

      3.      Santos-Hunter’s motion to suppress evidence (Doc. No. [20]) is DENIED.

      4.      Santos-Hunter’s motion to suppress statements (Doc. No. [21]) is

DENIED.


Dated: May 2, 2024                       s/Donovan W. Frank
                                         DONOVAN W. FRANK
                                         United States District Judge




                                           8
